UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
JANE DOE ,

                              Plaintiff ,

                - against -
                                                  21 Civ . 06792   (LLS )
SOLEBURY SCHOOL , JOHN WARD REGAN ,
                                                          ORDER
and JOHN & JANE SMITH 1 - 20 (FICTIONS
PERSONS AND/OR ENTITIES),

                              Defendants .


     The parties '   requests   (Dkt . Nos . 60 & 61)   for the Court to

intervene in the discovery process are granted as follows :

      1) The deadline to complete depositions of all parties and

          fact witnesses , June 19, 2023 , is extended sixty days .

      2) Plaintiff may file a Motion to Compel defendant Solebury

          School to produce the "875 documents" referenced in the

          " Bucks County Grand Jury Report . " In making the motion ,

          plaintiff should attach that Report as an exhibit so the

          Court can appraise the need to produce the documents . The

          holding of a pre-motion conference is dispensed with .

      So Ordered .

Dated :     New York , New York
            May 26 , 2023
                                                    Lt5'vt&~   L. j t~k
                                                 Louis L . Stanton
                                                    U. S . D. J .




                                      1
